
917 A.2d 999 (2007)
281 Conn. 915
STATE of Connecticut
v.
Larry DAVIS.
No. 17829.
Supreme Court of Connecticut.
Decided February 13, 2007.
Ira B. Grudberg, New Haven, in support of the petition.
Timothy J. Sugrue, senior assistant state's attorney, in opposition.
The defendant's petition for certification for appeal from the Appellate Court, 98 Conn.App. 608, 911 A.2d 753 (2006), is granted, limited to the following issue:
"Whether the Appellate Court properly concluded that the defendant's right to a fair trial was not prejudiced by the trial court's consolidation for trial of three separate informations against the defendant?"
NORCOTT, J., did not participate in the consideration or decision of this petition.
The Supreme Court docket number is SC 17829.
